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   5
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   7
   8                         UNITED STATES DISTRICT COURT
   9                        SOUTHERN DISTRICT OF CALIFORNIA
  10
        LA JOLLA SPA MD INC.,               CASE NO. 17-cv-1124-MMA (WVG)
  11
  12          Plaintiff,                    MEMORANDUM OF POINTS AND
                            vs.             AUTHORITIES IN SUPPORT OF EX
  13                                        PARTE MOTION RE: MAGISTRATE’S
        AVIDAS PHARMACEUTICALS,             ORDER FOLLOWING TELEPHONIC
  14    LLC, a limited liability company;   DISCOVERY CONFERENCE [Doc. No.
        and DOES 1 through 10 inclusive,    60]
  15
  16          Defendants.
                                            Judge: Hon. Michael M. Anello
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   1   I.     OVERVIEW
   2          On February 8, 2019, the Honorable William V. Gallo (“Magistrate Judge”)
   3   limited all discovery in this case to “the time period after May 8, 2014.” [Doc. No.
   4   60.] This overbroad discovery ruling was made in the context of a specific
   5   objection that Defendant Avidas Pharmaceuticals, LLC made to certain requests for
   6   production, which were the subject of a “discovery dispute” that the Magistrate
   7   Judge handled by way of briefing and a telephonic hearing. [Doc. Nos. 57, 58, 59,
   8   61.]
   9          Plaintiff La Jolla Spa MD, Inc. (“La Jolla Spa”) submits that Paragraph 4 of
  10   the Magistrate Judge’s Order is clearly erroneous and/or contrary to law for the
  11   reasons stated herein. As such, La Jolla Spa requests that the Court vacate
  12   Paragraph 4 of the Order and overrule Avidas’ relevance objections to requests for
  13   production of documents nos. 8 & 11-16.
  14   II.    THE CLAIMS AND DEFENSES IN THIS CASE
  15          La Jolla Spa has a single claim for breach of contract. While La Jolla Spa
  16   acknowledges in its Second Amended Complaint that Avidas paid royalties until
  17   mid-2014, it has not alleged that Avidas paid “all” royalties prior to mid-2014.
  18   [Doc. No. 12, ¶ 8.] It has further alleged that Avidas deprived it “of money earned
  19   under the contract.” [Doc. No. 12, ¶ 14.] It has also alleged that it “seeks to
  20   recover damages from Defendant’s [sic] breach,” that it requested an accounting in
  21   2012, and that Avidas has not provided an accounting in violation of the Sales and
  22   Distribution Agreement. Id. In addition, La Jolla Spa has alleged that Avidas did
  23   not return the remaining inventory at the time of termination pursuant to Paragraph
  24   4 of the Sales and Distribution Agreement and that Avidas was contractually
  25   required to return all unsold inventory. [Doc. No. 12, ¶ 8.]
  26          Avidas has answered the Second Amended Complaint and has denied the
  27   above allegations:
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   1
        Second Amended Complaint                       Answer to Second Amended Complaint
   2    ¶ 8 - Mitchell Goldman and Plaintiff           Answering paragraph 8 of Plaintiff’s
   3    fully complied with the stated                 Complaint, Avidas admits that on
        “cooperation” requirements. Pursuant           May 8, 2014, Margaret Gardner of
   4    to the Contract, Avidas paid royalties         Avidas wrote a letter terminating the
   5    until around mid-2014. On May 8,               agreement effective July 11, 2014, in
        2014, Avidas wrote a letter terminating        part, because of the death of the “lead
   6    the agreement effective July 11, 2014,         person” for Vitaphenol. Avidas further
   7    because of the death of the “lead              admits that the letter noted Avidas’s
        person” for Vitaphenol. Avidas                 right to dispose of the remaining stock
   8    indicated that it did not intend to            and that all sales from the stock
   9    replace the “lead person” and would            disposal would be subject to
        instead be electing to discontinue             royalties. Avidas further admits that it
  10    promoting and selling Vitaphenol.              did not return any remaining inventory
  11    Avidas’ letter noted Avida’s election to       as the Agreement specifically states:
        sell the remaining stock on hand and           “[i]n the event of early termination,
  12    pay appropriate royalties. Thereafter,         Avidas has the right to dispose of its
  13    additional product was sold, but the           stock of Product and shall have the
        royalties were not paid. Avidas did not        right to manufacture such finished
  14    return the remaining inventory pursuant        Product as may be necessary to balance
  15    to Paragraph 4 of the Sales and                out inventory or to convert raw
        Distribution Agreement. Avidas was to          materials, or goods in process, into
  16
        return all unsold inventory to York-           finished goods.” Avidas denies the
  17    Goldman, or the unsold inventory of            remaining allegations contained
        remaining product (SKUs) if the                therein. (emphasis added.)
  18
        Agreement was terminated in respect of
  19    fewer than all products. (emphasis
        added.)
  20
        ¶ 14 - By changing its position, Avidas        Answering paragraph 14 of Plaintiff’s
  21    breached the Contract and deprived             Complaint, Avidas denies the
        Plaintiff of money earned under the            allegations contained therein.
  22
        contract. Specific dollar amounts are
  23    known to Avidas, and cannot be alleged
        here with specificity here because only
  24
        Avidas has knowledge and records of
  25    the amounts gained by the unlawful
  26    using of Plaintiff trademark and exactly
        how much Vitaphenol was unlawfully
  27    sold without Plaintiff’ knowledge or
  28    royalty payment. Plaintiff seek to

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   1    recover the damages resulting from
   2    Defendants’ breach. Plaintiff requested
        an accounting in 2012. Avidas has not
   3    provided an accounting in violation of
   4    its Sales and Distribution Agreement
        dated August 19, 2008. (emphasis
   5    added.)
   6         In addition, Avidas has asserted several affirmative defenses, including
   7   “offset,” “full performance,” 1 “substantial performance,” “unjust enrichment” – all
   8   of which pertain to the agreements between the parties. [Doc. No. 15.]
   9         Avidas’ denials and defenses are further illustrated by Avidas’ disclosures
  10   and statements made to the Court. In its Initial Disclosures, Avidas identifies its
  11   President, Margie Gardner, as someone who will testify as to “all sales of
  12   Vitaphenol products by Avidas” and “royalties paid.” [Doc. No. 57, p. 28.]
  13   Likewise, Avidas identifies Joe Kuchta as someone who will testify as to “the
  14   packaging and marketing of Vitaphenol” and “sales of Vitaphenol products to third
  15   party customers.” Id. at p. 32.
  16         With respect to documents that Avidas contends it is going to use to support
  17   its denials and defenses, Avidas identifies “Documents, including emails and other
  18   ESI generated and received, evidencing sales of Vitaphenol by Avidas and royalties
  19   paid” and “Documents, including emails and other ESI generated and received,
  20   evidencing marketing, sourcing, and sales of Vitaphenol by third-parties.” Id. at pp.
  21   32-33. In discovery, Avidas identified documents it produced (A_001001 to
  22   A_001066) as ones it will rely on in support of the claims and defenses in this case.
  23   [Declaration of James T. Ryan, Ex. 2.] Those same documents reflect Avidas’ sales
  24   summaries from the inception of the relationship in 2008 through the termination
  25   date in 2014. [Doc. No. 47-2, Ex. J.]
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               Avidas alleges that it “performed and fully discharged any and all
  28   obligations arising under the contract.” (italics added.)
                                                  6
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   1              In addition, in filings to this Court, Avidas has taken the position that it paid
   2   “full royalties” from the inception of the contract and has submitted evidence of
   3   what Avidas claim were payments and accountings of royalties dating back to
   4   inception. [Doc. Nos. 47, at p.7; 47-2, Ex. J.]
   5              Further, in the Joint Discovery Plan submitted to the Magistrate Judge, La
   6   Jolla Spa explained that it needed to discover information regarding sales and
   7   manufacturing of Vitaphenol products “since inception.” [Ex. 1 to Declaration of
   8   James T. Ryan, ¶¶ II.c.i.1.-5; II.c.iii.1.a-d.] In response, Avidas represented to the
   9   Court that no changes were necessary to the limitations of discovery. [Id. at ¶
  10   I.e.ii.]
  11              Considering the foregoing, sales, manufacturing and inventory information
  12   for the Vitaphenol products from inception to the termination date is relevant to the
  13   claims and defenses in this case.
  14   III.       THE DISCOVERY DISPUTE
  15              On January 9, 2019, the Magistrate Judge entered the Amended Scheduling
  16   Order, which, inter alia, limited the number of written discovery requests each
  17   party could serve. [Doc. No. 54.] La Jolla Spa is limited to serving 10 requests for
  18   admission, 10 interrogatories, and 10 document requests. Fact discovery is to be
  19   completed no later than April 8, 2019. Id.
  20              On January 11, 2019, La Jolla Spa propounded 8 requests for admission, 7
  21   interrogatories and 10 document requests on Avidas. [Doc. No. 57-1, ¶ 3.]
  22              Avidas objected to the following document requests on relevance grounds:
  23   Nos. 8 & 11-16. [Doc. No. 57, Ex. 2.] Avidas asserted that discovery of certain
  24   categories of documents in the requests before the date the contract was terminated,
  25   i.e., July 22, 2014, was irrelevant. Thereafter, the parties were directed to and did
  26   submit supplemental briefing (limited to 5 pages each) to the Court on the
  27   discovery dispute. [Doc. Nos. 57 & 58.]
  28              On February 7, 2019, the Court held a telephonic discovery conference
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   1   regarding the discovery dispute and issued an order the following day (the
   2   “Order”). [Doc. Nos. 60 & 61.]
   3   IV.       OBJECTIONS TO THE ORDER
   4         La Jolla Spa objects to the Magistrate Judge’s findings and limitations on
   5   discovery stated in numbered paragraph 4 of the Order at page 2, lines 10 through
   6   page 2, line 28. [Doc. No. 60.] The Magistrate Judge limited the scope of all
   7   discovery in this case to the time period after May 8, 2014—the date of Avidas’
   8   letter providing notice of termination of the contract. In conclusion, the Magistrate
   9   Judge stated that “discovery in this case shall be limited to [the time period after
  10   May 8, 2014].” 2
  11         Although the “discovery dispute” pertained to specific responses to
  12   document requests nos. 8 & 11-16, the Magistrate Judge’s broad Order operates as
  13   a de facto protective order under Rule 26(c)(1) barring discovery of any
  14   information and documents prior to May 8, 2014 even though the Magistrate Judge
  15   did not make a finding of good cause or balance the interests of the parties.
  16         The bases for La Jolla Spa’s objection are stated in Section VI. below.
  17   V.        STANDARD FOR REVIEW OF MAGISTRATE RULINGS
  18         Under Federal Rule of Civil Procedure 72(a), aggrieved parties may file
  19   objections to the rulings of a magistrate judge in non-dispositive matters within
  20   fourteen days. Fed. R. Civ. P. 72(a). In reviewing a magistrate judge’s order, the
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               The blanket denial of discovery prior to May 8, 2014 creates problems
       beyond just the discovery requests that were at issue in the discovery dispute. La
  24   Jolla Spa is going to travel outside of California to take several depositions of
  25   Avidas and third parties who have information relating to the manufacturing, sales
       and inventory of the Vitaphenol products. La Jolla Spa is concerned that Avidas or
  26   other deponents will try to refuse to answer questions based on relevance regarding
  27   events taking place prior to May 8, 2014, including foundational questions. Such
       instructions will necessitate motion practice and possibly additional travel and
  28   depositions if the objections are overruled.
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   1   district judge “must consider timely objections and modify or set aside any part of
   2   the order that is clearly erroneous or is contrary to law.” Fed. R. Civ. P. 72(a); 28
   3   U.S.C. § 636(b)(1)(A); see also United States v. Raddatz, 447 U.S. 667, 673 (1980);
   4   Osband v. Woodford, 290 F.3d 1036, 1041 (9th Cir. 2002).
   5          “The judge may also receive further evidence or recommit the matter to the
   6   magistrate judge with instructions.” 28 U.S.C. § 636(b)(1).
   7         A magistrate judge’s legal conclusions are reviewable de novo to determine
   8   whether they are “contrary to law” and findings of fact are subject to the “clearly
   9   erroneous” standard. Perry v. Schwarzenegger, 268 F.R.D. 344, 348 (N.D. Cal.
  10   2010). When making the de novo review of a magistrate judge’s order, the district
  11   court may rely on the record of the proceedings before the magistrate judge and
  12   may also accept additional evidence. United States v. Enix, 209 F. Supp. 3d 557
  13   (W.D. N.Y. 2016).
  14   VI.    THE COURT SHOULD SUSTAIN THE OBJECTION TO
  15          PARAGRAPH 4 OF THE ORDER BECAUSE IT IS CLEARLY
  16          ERRONEOUS AND/OR CONTRARY TO LAW
  17         The scope of discovery under Rule 26(b)(1) is to be broadly and liberally
  18   construed. See Hickman v. Taylor, 329 U.S. 495, 506, 67 S.Ct. 385, 91 L.Ed. 451
  19   (1947) (stating deposition discovery rules are to be accorded broad and liberal
  20   treatment); Farnsworth v. Procter & Gamble Co., 758 F.2d 1545, 1547 (11th
  21   Cir.1985) (“The Federal Rules of Civil Procedure strongly favor full discovery
  22   whenever possible.”). Under Rule 26(b)(1), relevance encompasses “any matter
  23   that bears on, or that reasonably could lead to other matter that could bear on, any
  24   issue that is or may be [presented] in the case.” In re Packaged Seafood Products
  25   Antitrust Litigation, 2018 WL 4327876, at *1 (S.D. Cal., Sept. 10, 2018, No. 15-
  26   MD-2670 JLS (MDD)) (quoting Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340,
  27   351 (1978)); accord SolarCity Corporation v. Doria, 2018 WL 467898, at *2 (S.D.
  28   Cal., Jan. 18, 2018, No. 16CV3085-JAH (RBB)). “[D]iscovery is not limited to
                                                  9
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    1   issues raised by the pleadings, for discovery itself is designed to help define and
    2   clarify the issues.” Fastvdo LLC v. AT&T Mobility LLC, 2016 WL 4542747, at *2
    3   (S.D. Cal., Aug. 31, 2016, No. 16-CV-385-H (WVG))(citing Oppenheimer).
    4             a. Paragraph 4 is Clearly Erroneous
    5         The Magistrate Judge’s conclusion that La Jolla Spa’s breach of contract
    6   claim is limited to events after May 8, 2014 is clearly erroneous considering the
    7   allegations, denials and affirmative defenses of the parties.
    8         The Magistrate Judge recognized that there was no specific concession by La
    9   Jolla Spa in Paragraph 8 of the Second Amended Complaint that “all royalties”
   10   were paid. [Doc. No. 61 at 26:14-29:20.] Likewise, the Magistrate Judge
   11   acknowledged that Paragraph 14 does not contain language stating that Avidas only
   12   deprived La Jolla Spa of royalties “after July 11, 2014.” [Doc. No. 61 at 30:6-
   13   31:21.] Although La Jolla Spa’s allegations also include mention of the
   14   termination, because that is one breach, La Jolla Spa does not allege that it is
   15   pursuing a breach claim only as to the post-termination time period. In fact, La
   16   Jolla Spa alleges that it requested an accounting in 2012 and one was not provided.
   17   If the claim were limited to post-termination events, there would be no reason to
   18   mention a 2012 accounting and demand for the same. [Doc. No. 61 at 27:12-15,
   19   36:6-19 (“I see that paragraph, but I don’t know what that’s related to
   20   specifically.”).] Therefore, the Magistrate Judge’s conclusion that “[t]here is no
   21   language from which the Court could find that the time period before this date is at
   22   issue” is clearly erroneous. [Doc. No. 60 at 2:17-18.]
   23         While the allegations are sufficient to put Avidas on notice that La Jolla Spa
   24   is claiming that it underpaid royalties before the termination date, since the filing of
   25   the Second Amended Complaint, other documents have been exchanged between
   26   the parties that support La Jolla Spa’s pre-termination allegations and demonstrate
   27   that the sales, manufacturing and inventory information prior to the termination
   28   date is relevant to La Jolla Spa’s claims and Avidas’ defenses. See Section II,
                                                   10
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    1   supra.
    2            Further, even if there were a question about whether pre-termination royalties
    3   were at issue based on the allegations, that still does not preclude pre-termination
    4   discovery regarding sales, manufacturing and inventory which would also relate to
    5   post-termination royalties. La Jolla Spa should be permitted to (1) verify whether
    6   the information contained in Avidas’ sales summaries is valid, (2) discover how
    7   many products were manufactured after La Jolla Spa transferred its inventory to
    8   Avidas, and (3) discover the status of inventory from inception through the date of
    9   termination in order to determine how much product was available on the
   10   termination date. 3
   11            Notwithstanding the relevant areas to probe even assuming arguendo that
   12   only post-termination royalties were at issue, the Order appears to bar discovery of
   13   any information prior to the termination date relating to sales, manufacturing and
   14   inventory. This information will inform how many units of product were (or should
   15   have been) available on the termination date. In the event of a termination by
   16
   17           Avidas has also put the Vitaphenol inventory at issue in this case. In its
                 3


   18   Opposition to the Motion for Leave to Amend, Avidas stated:
                   • from August 19, 2008 to August 25, 2010, Avidas sold and distributed
   19
                      5,642 units of Product from its Inventory;
   20              • from August 25, 2010 to November 15, 2012, SciDerma sold and
                      distributed about 4,275 units of Product from the Avidas Inventory;
   21
                   • from November 2012 to May 9, 2014, SciDerma sold and distributed
   22                 about 1,120 units from its Inventory [Doc. No. 47, at pp. 6-8.]
   23   La Jolla Spa transferred 17,337 units of inventory to Avidas in August 2008. [Doc.
        No. 47-2, p. 11.] Thereafter, Avidas manufactured 4,800+ more units and, in
   24   August 2010, it transferred 22,215 units to SciDerma. [Doc. No. 47-2, p. 138.]
   25   However, Avidas claims that from inception to May 9, 2014 the total number of
        units sold and distributed is only 11,037.
   26          Due to the May 8, 2014 limitation in the Order, La Jolla is prohibited from
   27   discovering any information about the veracity of Avidas’ assertions as to units
        sold, the status of inventory at various points in time, and what happened to at least
   28   6,300 units.
                                                   11
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    1   Avidas, the then-existing inventory was supposed to be returned to La Jolla Spa,
    2   but that did not happen. [Doc. No. 12, ¶ 8.]
    3         In Orthoflex, Inc. v. ThermoTek, Inc., 990 F.Supp.2d 675, 687 (N.D. Tex.
    4   2013), the district court vacated a discovery order and held that the magistrate
    5   judge’s factual findings that certain products “are not at issue in this litigation” was
    6   clearly erroneous. The court found that even though a certain type of product was
    7   not mention in the complaint, the failure to include the product does not prevent
    8   discovery as to the products. Likewise, in Matter of Application of O'Keeffe, 184 F.
    9   Supp. 3d 1362 (S.D. Fla. 2016), the magistrate judge’s finding that a discovery
   10   request was an improper fishing expedition or was a vehicle for harassment was
   11   clearly erroneous. Id. at 1371, aff’d, 660 Fed. Appx. 871 (11th Cir. 2016).
   12           Because the Magistrate Judge took a narrow view of the allegations and
   13   ignored the relevance of discovering information prior to the termination date
   14   relating to sales, manufacturing and inventory, the Order is clearly erroneous and
   15   should be reversed.
   16             b. Paragraph 4 is Contrary to Law
   17         An order may be deemed contrary to law when it fails to apply, or
   18   misapplies, the relevant statutes, case law, or rules of procedure. Catskill
   19   Development, L.L.C. v. Park Place Entertainment Corp., 206 F.R.D. 78 (S.D. N.Y.
   20   2002). Here, the Magistrate Judge misapplied the relevance standard discovery
   21   under Rule 26(b).
   22         In 2015, Rule 26(b) was amended to change the scope of discovery
   23   permitted. The current Rule 26(b)(1) states in pertinent part: “Parties may obtain
   24   discovery regarding any nonprivileged matter that is relevant to any party’s claim
   25   or defense…” Notwithstanding the amendment in 2015 limiting discovery to
   26   “claims and defenses” (as opposed to the “subject matter”), the Advisory
   27   Committee Notes confirm that relevance continues to be a broad concept. The
   28   2015 Advisory Committee Notes to Rule 26(b)(1) state in part:
                                                   12
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    1         A variety of types of information not directly pertinent to the incident
    2         in suit could be relevant to the claims or defenses raised in a given
    3         action. For example, other incidents of the same type, or involving the
    4         same product, could be properly discoverable under the revised
    5         standard. Information about organizational arrangements or filing
    6         systems of a party could be discoverable if likely to yield or lead to the
    7         discovery of admissible information. Similarly, information that could
    8         be used to impeach a likely witness, although not otherwise relevant to
    9         the claims or defenses, might be properly discoverable. In each
   10         instance, the determination whether such information is discoverable
   11         because it is relevant to the claims or defenses depends on the
   12         circumstances of the pending action. (italics added.)
   13         Thus, considering the Advisory Committee Notes, discovery prior to May 8,
   14   2014 is relevant for several reasons in this case.
   15                       1. The Order wrongly prohibits La Jolla Spa from conducting
   16                          discovery into inventory of the Vitaphenol products prior to
   17                          the termination date
   18         Information prior to May 8, 2014 is directly relevant to the breach of contract
   19   claim. La Jolla Spa seeks discovery of information relating to the sales,
   20   manufacturing and inventory of the Vitaphenol products from the contract inception
   21   (2008) to the date of termination (2014). La Jolla Spa should be permitted to obtain
   22   and compare the sales information Avidas reported for each product [Doc. No. 47-
   23   2, Ex. J] with the product inventory for each product in order to determine how
   24   much inventory was available to be sold as of the date Avidas gave notice it was
   25   terminating the agreements. With that information, La Jolla Spa can potentially
   26   calculate how many units were in inventory as of the date of termination in order to
   27   determine damages from the failure to return inventory and sales after the date of
   28   termination.
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    1                       2. The Order wrongly prohibits La Jolla Spa from conducting
    2                          discovery into other incidents of non-payment of royalties
    3         La Jolla Spa’s breach of contract claim is for the failure to pay royalties owed
    4   in connection with the agreements with Avidas.
    5         The Magistrate Judge contends that discovery should be limited to after May
    6   8, 2014 because, according to his reading of the Second Amended Complaint, La
    7   Jolla Spa’s claim is limited to non-payment of royalties after that date. The
    8   Magistrate Judge has taken an unnecessarily narrow view of La Jolla Spa’s
    9   allegations, which should be viewed liberally in favor of discovery. See In re
   10   Packaged Seafood Products, supra, at *1.
   11         Even if La Jolla Spa’s allegations were narrowly construed, that is not a
   12   sufficient basis to limit all discovery to after the date of termination. Under Rule
   13   26(b), La Jolla Spa is entitled to investigate whether Avidas also breached the
   14   contract by failing to pay royalties prior to termination. See Robert Half Intern.
   15   Inc. v. Ainsworth, 2015 WL 4662429, at *13 (S.D. Cal., Aug. 6, 2015, No.
   16   14CV2481-WQH DHB) (citing Fed.R.Civ.P. 26(b)(1) advisory committee notes
   17   (2000 amendments) (plaintiff allowed to conduct discovery of whether persons in
   18   addition to named defendants engaged in solicitation of its employees, even though
   19   plaintiff was “not currently aware of such facts,” as such actions could constitute
   20   “other incidents of the same type” as contemplated by the committee notes).
   21         Unlike in Robert Half, where the plaintiff had no evidence of the facts sought
   22   to be discovered, here, there is a genuine dispute as to whether Avidas paid all the
   23   royalties owed prior to termination. Avidas has put at issue in this case the
   24   royalties supposedly paid prior to termination. [See Doc. Nos. 1-2 (“To date,
   25   Avidas has cause to be paid approximately $90,000 in royalty payments”); 15
   26   (“Defendant alleges that it performed and fully discharged any and all obligations
   27   arising under the contract.” [italics added]); 47 (“Full royalties were paid for all
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    1   products” from the Avidas Inventory4 and SciDerma Inventory 5).]
    2         The Order is overbroad in that it places a blanket restriction on all discovery
    3   prior to May 8, 2014, including discovery that would show a pattern of
    4   underpayment. As such, the Order improperly operates as a protective order
    5   limiting all discovery, not just the limited discovery requests that were the subject
    6   of the discovery dispute. See In re BofI Holding, Inc. Securities Litigation, 318
    7   F.R.D. 129, 133 (S.D. Cal. 2016) (district court reversed the magistrate judge’s
    8   issuance of a protective order contrary to law because it was overbroad and not
    9   narrowly tailored). The Order whittles La Jolla Spa’s claim down to unpaid
   10   royalties after May 8, 2014, even though its allegations are not so narrowly limited.
   11   Not only is the Order overbroad in what it limits, it effectively operates as a
   12   dispositive motion or motion in limine because it prohibits discovery of royalty
   13   payments that Avidas has put at issue in this case.
   14         La Jolla Spa raised this consequence with the Magistrate Judge at the hearing
   15   [Doc. No. 61, pp. 31-32] and it is addressed in footnote 3 of the Order [Doc. No.
   16   60]. While La Jolla Spa appreciates that the Magistrate Judge was not intending to
   17   make any dispositive rulings on the merits of the case, the Order does result in a
   18   merits determination as to the scope of the breach of contract claim without the
   19   protections afforded to La Jolla Spa under Rule 56. Where plaintiffs fail to raise
   20   claim properly in their pleadings, if they raised it in their motion for summary
   21   judgment, they should be allowed to incorporate it by amendment. Obesity
   22
   23         4
                 “From August 25, 2010 to November 15, 2012, SciDerma sold and
   24   distributed about 4,275 units of Product from the Avidas Inventory and royalties
   25   were duly paid by Avidas to La Jolla on the units.” [Doc. No. 47, at p.7, citing 47-
        2, Ex. J at A_001001; A_001019 to A_001041.]
   26          5
                 “From November 2012 to May 9, 2014, SciDerma sold and distributed
   27   about 1,120 units from its Inventory and royalties were duly paid by Avidas to La
        Jolla on the units.” [Doc. No. 47, at p.7, citing 47-2, Ex. J at A_001001; A_001003
   28   to A_001018.]
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    1   Research Institute, LLC v. Fiber Research International, LLC, 310 F.Supp.3d 1089,
    2   1122 (S.D. Cal. 2018) (citing Desertrain v. City of Los Angeles, 754 F.3d 1147,
    3   1154 (9th Cir. 2014) [district court abused its discretion by not amending the
    4   complaint to conform to the evidence and argument and by not considering the
    5   unpled claim on the merits]).
    6                        3. The Order wrongly prohibits La Jolla Spa from conducting
    7                           discovery that could be used to impeach Avidas’ President,
    8                           Margaret Gardner, regarding sales of Vitaphenol product
    9          To support this Court’s jurisdiction, Avidas’ President declared that Avidas
   10   paid La Jolla Spa “approximately $90,000 in royalty payments” to La Jolla Spa
   11   pursuant to the contract. [Doc. No. 1-2, ¶ 3.] Avidas has also claimed that it paid
   12   “full royalties” owed to La Jolla Spa over the duration of the agreement. [Doc. No.
   13   47, at p.7, citing 47-2, Ex. J.]
   14          La Jolla Spa disputes that it received anywhere near $90,000 in royalties
   15   from Avidas. [Doc. Nos. 57, pp. 3-4; 57-1, ¶ 11.c; 61, pp. 26-28.] La Jolla Spa
   16   should be entitled to cross-examine Avidas’ president as to the sales summaries
   17   Avidas supposedly sent, how they were created, and what documents were used to
   18   create them, in order to determine whether the $90,000 amount is actually correct.6
   19   If Avidas paid $90,000 to La Jolla Spa based on a royalty of 8%, then Avidas made
   20   a profit of over $1,125,000 from the sales of Vitaphenol products. However, as
   21   broadly stated, Paragraph 4 of the Order prohibits La Jolla Spa from asking any
   22   information about the amounts Avidas contends it paid prior to termination or
   23   whether it sold inventory amounting to a $1,125,000 profit.
   24
   25
   26          6
                See Doc. No. 57, p. 22 (Request No. 15 states: “All source DOCUMENTS
   27   and ESI that Avidas relied on and/or used to create the accounting summaries
        reflected in A_001001 to A_001066, which are attached as Exhibit “J” to the
   28   Declaration of Julie Chovanes filed on December 3, 2018.”).
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    1          Because under Rule 26(b), La Jolla Spa is permitted to discover information
    2   that “could be used to impeach” the President of Avidas, the Order is contrary to
    3   law.
    4   VII. CONCLUSION
    5          La Jolla Spa respectfully requests that the Court vacate Paragraph 4 of the
    6   Order, overrule Avidas’ relevance objections, and allow La Jolla Spa to conduct
    7   discovery prior to May 8, 2014.
    8
    9    Dated: February 18, 2019                      JAMES T. RYAN, P.C.

   10                                           By s/ James T. Ryan
   11                                              James T. Ryan, Attorney for Plaintiff

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